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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

   IMPLICIT, LLC                                 §
                                                 §
                                                            Case No. 2:19-CV-0040-JRG-RSP
   v.                                            §
                                                                   LEAD CASE
                                                 §
   IMPERVA, INC.                                 §

                                     Teleconference
                            MAG. JUDGE ROY PAYNE PRESIDING
                                      April 16, 2020

   ATTORNEYS FOR PLAINTIFF:                           Bo Davis
                                                      Barry Golob
                                                      Christian Hurt

   ATTORNEY FOR DEFENDANTS:                           Michael Sacksteder
                                                      Jessica Benzler
                                                      Christopher Larson

   LAW CLERK:                                         Steven Laxton

   COURTROOM DEPUTY:                                  Becky Andrews

   Court opened. Case called. The parties introduced themselves.

   The Court discussed the case schedule with the parties. A motion telephonic hearing on will be
   held on April 29, 2020 at 10:00 a.m. regarding #213 and #225. The Court will also set the
   Markman video hearing on May 22, 2020 at 1:30 p.m.
